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 5   Attorney for Defendant
     HUNG THE LE
 6
 7                                   UNITED STATES DISTRICT COURT
 8                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                      )
10                                                  )    Case No. CR.S 08-0449-WBS
                            Plaintiff,              )
11                                                  )
       vs.                                          )   STIPULATION AND
12                                                  )   ORDER TO MODIFY ORDER
13                                                  )   SETTING CONDITIONS OF
     HUNG THE LE,                                   )   RELEASE AND APPEARANCE
14                                                  )
                                                    )
15                          Defendant.              )
16
17
             On January 16, 2009, this Court released defendant Hung Le from custody subject to pretrial
18
     conditions of release and appearance bond. One of the pretrial conditions of release is that defendant not
19
     have any contact with co-defendants. Defendant’s father lives with defendant’s brother, Tien Le, who is
20
21   a co-defendant in this case at 7101 Snowy Birch Way, Sacramento, CA 95823-5947.

22           Defendant’s father is very ill and defendant would like to visit him regularly. Defendant is
23   prepared to visit his father only when other co-defendants, including Tien Le, are not present.
24
             On April 8, 2009, defendant’s Pretrial Service Officer Taifa Gaskins recommended that
25
     defendant’s pretrial conditions of release be modified to allow defendant to visit his father at 7101
26
27   Snowy Birch Way, Sacramento, CA 95823-5947 so long as other co-defendants are not present.

28                                                       1
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     IT IS HEREBY STIPULATED by and between the United States of America and defendant Hung Le,
 1
 2   through undersigned counsel, that the condition that defendant not have any contact with co-defendants

 3   be modified to allow defendant to visit defendant’s father at 7101 Snowy Birch Way, Sacramento, CA
 4
     95823-5947 so long as co-defendant Tien Le or any other co-defendant is not present.
 5
 6   Dated: April 9, 2009                         /s/ Alice Wong

 7                                                Alice Wong
                                                  Attorney for Hung Le
 8
 9   Dated: April 9, 2009                         /s/ Heiko Coppola

10   ___________________________                  Heiko Coppola
                                                  Assistant United States Attorney
11
12           IT IS HEREBY ORDERED:
13
     Upon the stipulation of counsel, and good cause appearing, the condition that defendant not have any
14
     contact with co-defendant be modified to allow defendant to visit defendant’s father at 7101 Snowy
15
     Birch Way, Sacramento, CA 95823-5947 so long as co-defendant Tien Le or any other co-defendant is
16
17   not present. All other terms and conditions remain.

18
19   Dated: April 10, 2009
20
21
22
23
24
25
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28                                                     2
